Case 22-50073   Doc 342-15   Filed 05/10/22   Entered 05/10/22 16:22:22   Page 1 of 7




                              EXHIBIT

                                       O
             Case 22-50073               Doc 342-15            Filed 05/10/22             Entered 05/10/22 16:22:22               Page 2 of 7
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
  _________________________________________ District of _________________________________________
        Ho Wan Kwok
In re __________________________________________
                                     Debtor
                                                                                                22-50073 (JAM)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                               11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                   Defendant

                                       SUBPOENA TO TESTIFY AT A DEPOSITION
                                IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
           Mei Guo, c/o Zeisler & Zeisler, P.C.,
           10 Middle Street, 15th Floor, Bridgeport, CT 06604
  To: ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

   x Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE       O'Melveny & Myers LLP                                                                            DATE AND TIME
              7 Times Square
                                                                                                                  5/12/2022 at 10:00 am E.T.
              New York, New York 10036
  The deposition will be recorded by this method:

      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

         4/25/2022
  Date: _____________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                   /s/ Peter Friedman
                                                                                             ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________ , who issues or requests this subpoena, are:

                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
           Case 22-50073               Doc 342-15            Filed 05/10/22            Entered 05/10/22 16:22:22                       Page 3 of 7
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)



                                                                PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                   ________________________________________________
                                                                                                                  Server’s signature

                                                                                   ________________________________________________
                                                                                                                Printed name and title


                                                                                   ________________________________________________
                                                                                                                  Server’s address


Additional information concerning attempted service, etc.:
           Case 22-50073                 Doc 342-15             Filed 05/10/22          Entered 05/10/22 16:22:22                      Page 4 of 7
B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
Case 22-50073         Doc 342-15         Filed 05/10/22           Entered 05/10/22 16:22:22   Page 5 of 7




                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

 ------------------------------------------------------------ x
                                                              :     Chapter 11
 In re:                                                       :
                                                              :     Case No. 22-50073 (JAM)
                  Ho Wan Kwok,                                :
                                                              :
                                              Debtor.         :
 ------------------------------------------------------------ x

          PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.’S NOTICE OF
            DEPOSITION OF MEI GUO PURSUANT TO RULE 30(b)(1) OF
                   THE FEDERAL RULES OF CIVIL PROCEDURE

To:       Mei Guo
          C/O Zeisler & Zeisler, P.C.
          10 Middle Street, 15th Floor,
          Bridgeport, CT 06604

          PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 30, Pacific Alliance Asia

Opportunity Fund L.P. (“PAX”) will take the deposition upon oral examination of Mei Guo in

connection with PAX’s Motion to Dismiss Chapter 11 Case or, in the Alternative, Partial Joinder

to United States Trustee’s Motion for an Order Directing the Appointment of a Chapter 11 Trustee

[ECF 183] (the “Motion to Dismiss”).

          The deposition will commence on May 12, 2022 at 10:00am (Prevailing Eastern Time)

either at the offices of O’Melveny & Myers LLP at Times Square Tower, 7 Times Square, New

York, New York 10036 or by remote video conference, or at such other time and place as may be

agreed upon by counsel. The deposition shall continue from day-to-day (Saturdays, Sundays, and

holidays excluded), or as otherwise agreed by the parties, until completed. The deposition shall

be taken upon oral examination before an officer authorized by law to administer oaths, or by

remote video conference, and may be recorded by videographer and/or by stenographic means.
Case 22-50073      Doc 342-15       Filed 05/10/22     Entered 05/10/22 16:22:22         Page 6 of 7




       PLEASE TAKE FURTHER NOTICE that:

       1.      The deposition will be conducted either in person or remotely, using audio-visual

conference technology;

       2.      The court reporter will either report the deposition from the same location as the

witness or a location separate from the witness and will remotely administer the oath to the witness;

       3.      Counsel for the parties and their clients will participate either from the same

location or from separate locations;

       4.      The witness may be required to provide government-issued identification, which

must be legible on camera;

       5.      Each participating attorney may be visible to all other participants, and their

statements will be audible to all participants;

       6.      All exhibits will be provided simultaneously and, if the deposition is conducted

remotely, electronically to the witness and all participants;

       7.      The court reporter will record the testimony;

       8.      The deposition may be recorded by stenographic, electronic, and/or visual means;

and

       9.      Counsel for all parties will be required to stipulate on the record their consent to

this manner of deposition and their waiver of any objection to this manner of taking the deposition,

including any objection to the admissibility at any trial or hearing of this testimony based on the

manner of remote deposition taking.
Case 22-50073   Doc 342-15   Filed 05/10/22   Entered 05/10/22 16:22:22     Page 7 of 7




Dated: April 25, 2022
       New York, New York

                                      /s/ Peter Friedman
                                      O’MELVENY & MYERS LLP
                                      Peter Friedman (pfriedman@omm.com)
                                      Stuart Sarnoff (ssarnoff@omm.com)
                                      Times Square Tower
                                      7 Times Square
                                      New York, New York 10036
                                      Telephone: (212) 326-2000

                                      Attorneys for Pacific Alliance Asia
                                      Opportunity Fund L.P.
